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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF VIRGINIA
                                                 Alexandria Division


     RACHEL MCDONOUGH,individually
     AND ON BEHALF OF ALL OTHERS SIMILARLY
     SITUATED,
                                                                             Civil No. l:19-cv-984
                                 Plaintiff,
                                                                              Hon. Liam O'Grady


     CAPITAL ONE FINANCIAL
    CORPORATION,CAPITAL ONE BANK
    (USA),N.A., AND CAPITAL ONE,N.A.,

                                 Defendants.

                                                         ORDER


         It is hereby ORDERED that civil action 1:19-cv-984 be and are transferred to the

Richmond Division to be consolidated with 3:19-cv-555.' The Clerk is directed to consolidate

and transfer this civil action as directed to the Richmond Division and forward copies of this

Order to counsel ofrecord and Judge Gibney.

         It is SO ORDERED.



                                                                             Liam O'Grady
August/^ ,2019                                                               United States District Judge
Alexandria, Virginia




'Civil action 3:i9-cv-5S5 is assigned to the Honorable John A. Gibney, Jr., who has agreed to the consolidation of
this civil action with his civil action, which was the first ofthese related actions filed in this district.
